Case 2:22-cv-00357-JJT Document 163 Filed 08/15/24 Page 1 of 1

DL Investigations & Aitormey Support LLC
7501.N 16th Street, Suite 200

Phoenix, AZ 85020

(602) 285-9901

Inv. # IN THE UNITED STATES DISTRICT COURT
158809 DISTRICT OF ARIZONA
LABOR SMART, INC.
Plaintiff / Petitioner,

VS

JASON AND MELISSA TUCKER; et al.
NO. 2:22-cv-00357-3IT

Defendant / Respendent. CERTIFICATE OF SERVICE

TOM COMBS __... _ , the undersigned certifies under penalty of perjury. That I am folly qualified pursuant
to RCP 4 (d), 4 (6), 45 (b) and/or ARS 13-4072, to serve process in this case, and received for service the following documents in this
action

SUMMONS, ANSWER, COUNTERCLAIMS, AND THIRD-PARTY CLAIMS

from Veronica L. Manolio c/o Manolio & Firestone, P-L.C. on 7123124

~ __ MS eee >
that I personally served copies of these documents on those named below m the manner and time and place shown, and except where
noted, all services were made in Maricopa County, Arizona,

NAME; NEXT GEN BEVERAGES, L.L.C,

DATE & TIME: 7/30/24 1 31pm

PLACE & 50N GLENWOOD ST, JACKSON, WY 83001, a public place

MANNER: By servmg CHAD MARLOWE, a person authorized to accept such service on their behalf, in person.
costs

Services $113 40

Mileage

Sp. andl. $70 00 Affiant

Witness

Advances

Cert. Prep $25 00

Other sis34 7H Paste SIC

Total $226 74
The above is covered by A R.S as amended 41-314 & 11-45 and Rules 4, $ and 45
